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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

LARRY JONES,

       Plaintiff,

v.                                                Civil Action No. 2:12-cv-12036
                                                  Honorable George Caram Steeh
THANG, et.al.,

     Defendant(s).
______________________/

             ORDER TRANSFERRING CASE TO THE UNITED STATES
          DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

       This is a civil rights action filed under 42 U.S.C. § 1983. Plaintiff Larry Jones is an

Illinois state prisoner currently confined at the Robinson Correctional Center in Robinson,

Illinois. He filed this pro se Complaint on May 7, 2012, alleging that Defendant Michigan

State Trooper Thang illegally searched his body, touching his penis, testicles, and sticking

her fingers into his rectum. The events described in Plaintiff’s Complaint occurred in White

Pigeon, Michigan, and Defendants are officers located at the White Pigeon Post.

       The proper venue for civil actions in which jurisdiction is not based on diversity of

citizenship is the judicial district where: (1) any defendant resides if all defendants reside

in the same state; (2) a substantial part of the events or omissions giving rise to the claim

occurred or a substantial part of the property in question is situated; or (3) any defendant

may be found if there is no other district in which plaintiff may bring the action. 28 U.S.C.

§ 1391(b). Public officials “reside” in the county where they serve. See O’Neill v. Battisti,

472 F.2d 789, 791 (6th Cir. 1972). Pursuant to 28 U.S.C. § 1404(a), a district court may
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transfer a civil action to any other district where it might have been brought for the

convenience of the parties and witnesses, in the interest of justice.

       Having reviewed the Complaint, the Court finds that the United States District Court

for the Western District of Michigan is a more appropriate forum for this action. Defendants

reside in St. Joseph County for purposes of the present Complaint, which lies in the

Southern Division of the Western District of Michigan. See 28 U.S.C. § 102(b).

       Accordingly, the Court ORDERS the Clerk of the Court to transfer this case to the

United States District Court for the Western District of Michigan. 28 U.S.C. §§ 1391(b) and

1404(a).

Dated: May 14, 2012
                                            S/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                   May 14, 2012, by electronic and/or ordinary mail and also to
                     Larry Jones at 803 West Street, Three Rivers MI 49039.

                                      S/Josephine Chaffee
                                          Deputy Clerk




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